                         UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF TENNESSEE
                               AT GREENEVILLE

UNITED STATES OF AMERICA                         )
                                                 )
v.                                               )      No.:   2:11-CR-047
                                                 )
JOSHUA R. CONLEY-LOGAN                           )

                           MEMORANDUM AND ORDER

        This criminal case is before the court on the defendant’s pro se motion for

sentence reduction [doc. 476]. The defendant asks the court to reduce his sentence

pursuant to 18 U.S.C. § 3582(c)(2) and in accordance with Amendments 782 and 788 to

the United States Sentencing Guidelines Manual (“U.S.S.G.” or “sentencing guidelines”).

Amendment 782, which became effective on November 1, 2014, revised the guidelines

applicable to drug-trafficking offenses by reducing the offense levels assigned to the drug

and chemical quantities described in guidelines 2D1.1 and 2D1.11. See U.S. Sentencing

Guidelines Manual app. C, amend. 782 (2014). Amendment 788, which also became

effective on November 1, 2014, identified Amendment 782 as retroactive.            See id.,

amend. 788.

        The United States has responded in opposition to the motion [doc. 491], arguing

that the defendant is not eligible for Amendment 782 relief because his existing sentence

is already lower than his amended guideline range. The United States is correct, and the

defendant’s motion must therefore be denied.




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I.       Background

         By judgment dated February 27, 2012, this court sentenced the defendant to terms

of imprisonment of: 120 months to Count One (conspiracy to manufacture

methamphetamine); 60 months as to Count Two (conspiracy to distribute and possess

with the intent to distribute methamphetamine); and 60 months as to Count 22 (aiding

and abetting in maintaining a place for the purpose of manufacturing, distributing, and

using methamphetamine). The terms on Counts One and Two were ordered to be served

consecutively, while the term on Count 22 was to be served concurrently, for a net

sentence of 180 months.

         The defendant’s advisory guideline range was 235 to 293 months, based on a total

offense level of 35 and a criminal history category of IV. Prior to sentencing, the

defendant moved for a downward departure pursuant to U.S.S.G. § 4A1.3(b) or, in the

alternative, for a downward variance [doc. 364]. The court granted the motion and

imposed a sentence 55 months below the bottom of the guideline range. According to the

Bureau of Prisons, the defendant is presently scheduled for release on April 3, 2024.

II.      Analysis

         District courts have discretion to reduce the sentence “of a defendant who has

been sentenced to a term of imprisonment based on a sentencing range that has

subsequently been lowered by the Sentencing Commission . . . , if such a reduction is

consistent with applicable policy statements issued by the Sentencing Commission.” 18

U.S.C. § 3582(c)(2) (emphasis added). In the present case, a sentence reduction under §

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3582(c) would not be consistent with the Sentencing Commission’s applicable policy

statements.

       Guideline 1B1.10 is a policy statement of the Sentencing Commission. It explains

in relevant part that a court shall not reduce a defendant’s term of imprisonment pursuant

to § 3582(c) to a term that is less than the bottom of the amended guideline range. See

U.S. Sentencing Guidelines Manual § 1B1.10(b)(2)(A) (2014). The only exception to

that policy statement is if the defendant originally received a below-guideline sentence

“pursuant to a government motion to reflect the defendant’s substantial assistance to

authorities.”   Id. § 1B1.10(b)(2)(B).     The United States did not file a substantial

assistance motion as to this defendant..

       Applying Amendment 782, the defendant’s new advisory guideline range is 188 to

235 months, based on a total offense level of 33 and a criminal history category of IV.

Because the defendant’s existing sentence of 180 months is below the bottom of that

amended range, he is not entitled to Amendment 782 relief. See 18 U.S.C. § 3582(c)(2);

U.S. Sentencing Guidelines Manual § 1B1.10(b)(2)(A)-(B).




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III.   Conclusion

       For the reasons stated herein, the defendant’s motion for sentence reduction [doc.

476] is DENIED.

             IT IS SO ORDERED.

                                                      ENTER:



                                                             s/ Leon Jordan
                                                       United States District Judge




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